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           EXHIBIT D
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14

15   Attorneys for Defendants and Counterclaimants
     SIMO Holdings Inc., Skyroam, Inc., and
16   Shenzhen Skyroam Technology Co., Ltd.

17
                                   UNITED STATES DISTRICT COURT
18
                                NORTHERN DISTRICT OF CALIFORNIA
19

20
     HONG KONG UCLOUDLINK NETWORK                    Case No.: 18-cv-05031
21   TECHNOLOGY LIMITED AND
     UCLOUDLINK (AMERICA), LTD.,                     DEFENDANTS SIMO HOLDINGS INC.’S
22                                                   AND SKYROAM, INC.’S FIRST
                          Plaintiffs,                AMENDED ANSWER AND SIMO
23                                                   HOLDINGS INC.’S, SKYROAM, INC.’S
     vs.                                             AND SHENZHEN SKYROAM
24                                                   TECHNOLOGY CO., LTD.’S FIRST
     SIMO HOLDINGS INC. AND                          AMENDED COUNTERCLAIMS TO
25   SKYROAM, INC.,                                  COMPLAINT FOR PATENT
                                                     INFRINGEMENT
26                        Defendants.
                                                     JURY TRIAL DEMANDED
27

28
                                            1
                       FIRST AMENDED ANSWER AND COUNTERCLAIMS TO
                            COMPLAINT FOR PATENT INFRINGEMENT
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 1          SIMO Holdings Inc. (“SIMO”), Skyroam, Inc. (collectively, “Defendants”), and Shenzhen

 2   Skyroam Technology Co., Ltd. (all three entities collectively referred to as “Counterclaimants”)

 3   hereby submit this First Amended Answer and Affirmative Defenses, and Counterclaims in response

 4   to Plaintiffs Hong Kong uCloudlink Network Technology Limited and uCloudlink (America), Ltd.’s

 5   (collectively, “Plaintiffs” or “uCloudlink”) Complaint for Patent Infringement (“Complaint”) as

 6   follows:

 7
                                                     PARTIES1
 8
            1.      Defendants are without knowledge or information sufficient to form a belief as to the
 9
     truth of the allegations of Paragraph 1 of the Complaint, and therefore deny them.
10
            2.      Defendants are without knowledge or information sufficient to form a belief as to the
11
     truth of the allegations of Paragraph 2 of the Complaint, and therefore deny them.
12
            3.      Defendants admit the allegations of Paragraph 3 of the Complaint.
13
            4.      Defendants admit the allegations of Paragraph 4 of the Complaint.
14

15                                     JURISDICTION AND VENUE

16          5.      Defendants admit this is a patent infringement case.

17          6.      Defendants admit that this Court has subject matter jurisdiction but denies that

18   uCloudlink has any viable claim in this case.

19          7.      Defendants admit that Defendants conduct business in California and that this Court

20   has personal jurisdiction over Defendants. Defendants deny that they have committed any acts of

21   direct or indirect infringement and deny the remaining allegations of Paragraph 7 of the Complaint.

22          8.      Defendants admit that Defendants conduct business in California. Defendants deny

23   that they have committed any acts of direct or indirect infringement and deny the remaining

24   allegations of Paragraph 8 of the Complaint.

25          9.      Defendants admit the allegations of Paragraph 9 of the Complaint.

26

27   1
      To avoid confusion, Defendants use the headings used by uCloudlink, but Defendants do not intend
28   any admissions or endorsement of their contents.
                                                      2
                       FIRST AMENDED ANSWER AND COUNTERCLAIMS TO
                             COMPLAINT FOR PATENT INFRINGEMENT
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 1          10.     Defendants admit that Skyroam has a principal place of business in California and

 2   that this Court has general personal jurisdiction over Skyroam. Defendants deny that Defendants

 3   have committed any acts of direct or indirect infringement and deny the remaining allegations of

 4   Paragraph 10 of the Complaint.

 5          11.     Defendants admit the allegations of Paragraph 11 of the Complaint.

 6
                                      INTRADISTRICT ASSIGNMENT
 7
            12.     Defendants admit the allegations of Paragraph 12 of the Complaint.
 8

 9                                          PATENTS-IN-SUIT

10          13.     Defendants admit that what purports to be a copy of U.S. Patent Number 9,432,066

11   (“the ’066 patent”), which on its face includes a title of “Multi-Channel Communication Terminal”

12   and an issue date of Aug. 30, 2016, is attached as Exhibit A to the Complaint. Defendants deny that

13   the ’066 patent was duly and legally issued by the United States Patent and Trademark Office.

14          14.     Defendants are without knowledge or information sufficient to form a belief as to the

15   truth of the allegations of Paragraph 14 of the Complaint, and therefore deny them.

16          15.     Defendants are without knowledge or information sufficient to form a belief as to the

17   truth of the allegations of Paragraph 15 of the Complaint, and therefore deny them.

18          16.     Defendants admit that what purports to be a copy of U.S. Patent Number 9,548,780

19   (“the ’780 patent”), which on its face includes a title of “Service Sharing System and Apparatus” and

20   an issue date of Jan. 17, 2017, is attached as Exhibit B to the Complaint. Defendants deny that the

21   ’780 patent was duly and legally issued by the United States Patent and Trademark Office.

22          17.     Defendants are without knowledge or information sufficient to form a belief as to the

23   truth of the allegations of Paragraph 17 of the Complaint, and therefore deny them.

24          18.     Defendants are without knowledge or information sufficient to form a belief as to the

25   truth of the allegations of Paragraph 18 of the Complaint, and therefore deny them.

26
                              ACCUSED PRODUCTS AND TECHNOLOGY
27

28
                                             3
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 1             19.   Paragraph 19 consists of uCloudlink’s subjective characterizations of Defendants’

 2   products and services and thus requires no response. To the extent a response is required,

 3   Defendants admit that Skyroam’s website (https://www.skyroam.com/how-it-works) states: “Simply

 4   turn on Skyroam Solis or Skyroam Hotspot and it'll automatically find the best local signal wherever

 5   you go, so you don’t have to do the legwork.” Defendants deny the remaining allegations of

 6   Paragraph 19 of the Complaint.

 7             20.   Defendants admit that Defendants’ products are sold in this District but deny that any

 8   of Defendants’ products or services infringe the ’066 and ’780 patents and deny the remaining

 9   allegations of Paragraph 20 of the Complaint.

10
                      COUNT I ─ INFRINGEMENT OF U.S. PATENT NO. 9,432,066
11
               21.   Defendants incorporate their Answers to Paragraphs 1 through 20 as if fully set forth
12
     herein.
13
               22.   Defendants deny the allegations of Paragraph 22 of the Complaint.
14
               23.   Defendants deny the allegations of Paragraph 23 of the Complaint.
15
               24.   Defendants deny the allegations of Paragraph 24 of the Complaint.
16
               25.   Defendants deny the allegations of Paragraph 25 of the Complaint.
17
               26.   Defendants deny the allegations of Paragraph 26 of the Complaint.
18
               27.   Defendants deny the allegations of Paragraph 27 of the Complaint.
19
               28.   Defendants deny the allegations of Paragraph 28 of the Complaint.
20
               29.   Defendants deny the allegations of Paragraph 29 of the Complaint.
21
               30.   Defendants deny the allegations of Paragraph 30 of the Complaint.
22
               31.   Defendants deny the allegations of Paragraph 31 of the Complaint.
23
               32.   Defendants deny the allegations of Paragraph 32 of the Complaint.
24
               33.   Defendants deny the allegations of Paragraph 33 of the Complaint.
25
               34.   Defendants deny the allegations of Paragraph 34 of the Complaint.
26
               35.   Defendants deny the allegations of Paragraph 35 of the Complaint.
27
               36.   Defendants deny the allegations of Paragraph 36 of the Complaint.
28
                                              4
                         FIRST AMENDED ANSWER AND COUNTERCLAIMS TO
                              COMPLAINT FOR PATENT INFRINGEMENT
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 1             37.   Defendants deny the allegations of Paragraph 37 of the Complaint.

 2             38.   Defendants deny the allegations of Paragraph 38 of the Complaint.

 3             39.   Defendants deny the allegations of Paragraph 39 of the Complaint.

 4             40.   Defendants admit that Defendants became aware of the ’066 patent upon receiving

 5   the Complainant. Defendants deny the remaining allegations of Paragraph 40 of the Complaint.

 6             41.   Defendants deny the allegations of Paragraph 41 of the Complaint.

 7             42.   Defendants admit that Defendants became aware of the ’066 patent upon receiving

 8   the Complainant. Defendants deny any infringing acts and the remaining allegations of Paragraph

 9   42 of the Complaint.

10             43.   Defendants deny the allegations of Paragraph 43 of the Complaint.

11
                     COUNT II ─ INFRINGEMENT OF U.S. PATENT NO. 9,548,780
12
               44.   Defendants incorporate their Answers to Paragraphs 1 through 43 as if fully set forth
13
     herein.
14
               45.   Defendants deny the allegations of Paragraph 45 of the Complaint.
15
               46.   Defendants deny the allegations of Paragraph 46 of the Complaint.
16
               47.   Defendants deny the allegations of Paragraph 47 of the Complaint.
17
               48.   Defendants deny the allegations of Paragraph 48 of the Complaint.
18
               49.   Defendants deny the allegations of Paragraph 49 of the Complaint.
19
               50.   Defendants deny the allegations of Paragraph 50 of the Complaint.
20
               51.   Defendants deny the allegations of Paragraph 51 of the Complaint.
21
               52.   Defendants deny the allegations of Paragraph 52 of the Complaint.
22
               53.   Defendants deny the allegations of Paragraph 53 of the Complaint.
23
               54.   Defendants deny the allegations of Paragraph 54 of the Complaint.
24
               55.   Defendants deny the allegations of Paragraph 55 of the Complaint.
25
               56.   Defendants deny the allegations of Paragraph 56 of the Complaint.
26
               57.   Defendants deny the allegations of Paragraph 57 of the Complaint.
27
               58.   Defendants deny the allegations of Paragraph 58 of the Complaint.
28
                                              5
                         FIRST AMENDED ANSWER AND COUNTERCLAIMS TO
                              COMPLAINT FOR PATENT INFRINGEMENT
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 1          59.     Defendants admit that Defendants became aware of the ’780 patent upon receiving

 2   the Complainant. Defendants deny the remaining allegations of Paragraph 59 of the Complaint.

 3          60.     Defendants deny the allegations of Paragraph 60 of the Complaint.

 4          61.     Defendants admit that Defendants became aware of the ’780 patent upon receiving

 5   the Complainant. Defendants deny any infringing acts and the remaining allegations of Paragraph

 6   61 of the Complaint.

 7          62.     Defendants deny the allegations of Paragraph 62 of the Complaint.

 8
                                            PRAYER FOR RELIEF
 9
            Defendants deny that uCloudlink is entitled to the requested relief as identified in the Prayer
10
     for Relief or any other relief requested.
11

12                                               JURY DEMAND

13          Defendants demand a trial by jury on all issues so triable pursuant to Rule 38 of the Federal

14   Rules of Civil Procedure.

15
                                         AFFIRMATIVE DEFENSES
16
            Subject to the responses above, Defendants allege and assert the following defenses to the
17
     allegations of uCloudlink’s Complaint, undertaking the burden of proof only as to those defenses
18
     deemed affirmative defenses by law, regardless of how such defenses are denominated herein. In
19
     addition to the defenses described below, subject to their responses above, Defendants specifically
20
     reserve all rights to allege additional defenses that become known through the course of discovery.
21
                                      FIRST AFFIRMATIVE DEFENSE
22                                        (Failure to State a Claim)
23          The Complaint, and each purported claim asserted therein, fails to state a cause of action for
24   which relief can be granted and/or fails to plead the allegations with sufficient particularity.
25                                  SECOND AFFIRMATIVE DEFENSE
                                          (Non-Infringement)
26

27

28
                                              6
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 1           Defendants do not infringe and have not infringed (not directly, indirectly, contributorily, by

 2   inducement, jointly, willfully, or otherwise) any valid, enforceable claim of the ’066 and ’780

 3   patents, either literally or under the doctrine of equivalents.

 4                                     THIRD AFFIRMATIVE DEFENSE
                                                (Invalidity)
 5
             The claims of the ’066 and ’780 patents are invalid because they fail to satisfy the conditions
 6
     of patentability specified in Title 35 of the United States Code, including but not limited to §§ 101,
 7
     102, 103, and/or 112. Particularly, to the extent that any features of the Accused Products infringe
 8
     claims of the ’066 and ’780 patents, on information and belief, those claims are invalid at least for
 9
     lacking novelty and/or being obvious over the prior art that contained similar features, including
10
     without limitation U.S. Patent Nos. 8,116,735 and 9,736,689, as well as related prior art, for non-
11
     enablement, for indefiniteness, and for lack of adequate written description. Defendants reserve the
12
     right to amend, supplement, and add further prior art references and invalidity contentions pursuant
13
     to the local rules.
14
                                      FOURTH AFFIRMATIVE DEFENSE
15                                         (Limitation on Damages)
16           uCloudlink’s claim for damages is statutorily limited under 35 U.S.C. § 286.
17                                     FIFTH AFFIRMATIVE DEFENSE
18                                        (Prosecution History Estoppel)
             uCloudlink is barred, under the doctrine of Prosecution History Estoppel, from construing the
19
     claims of any of the ’066 and ’780 patents in such a way as may cover any of Defendants’ products
20
     or processes by reasons of statements made to the United States Patent and Trademark Office during
21
     the prosecution of the applications that led to the issuance of the respective patents. uClodulink is
22
     also estopped from applying the doctrine of equivalents to the claims of the ’066 and ’780 patents in
23
     light of arguments and amendments that were made to the United States Patent and Trademark
24
     Office during the prosecution of the ’066 and ’780 patents. Defendants reserve the right to amend
25
     this defense pursuant to the local rules governing claim construction.
26
                                        SIXTH AFFIRMATIVE DEFENSE
27
                           (Equitable Estoppel, Waiver, Acquiescence, and Unclean Hands)
28
                                                 7
                            FIRST AMENDED ANSWER AND COUNTERCLAIMS TO
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 1           uCloudlink’s claims for relief are barred in whole or in part by the equitable doctrines of

 2   estoppel, waiver, acquiescence, unclean hands, and/or other equitable doctrines, including the

 3   doctrine of inequitable conduct.

 4                                  SEVENTH AFFIRMATIVE DEFENSE
                                       (Substantial Non-Infringing Use)
 5
             Defendants’ methods, systems, products, or services have substantial non-infringing uses so
 6
     they do not contributorily infringe the ’066 and ’780 patents.
 7
                                     EIGHTH AFFIRMATIVE DEFENSE
 8                                       (License and/or Exhaustion)
 9           uCloudlink’s claims are barred, in whole or in part, as a result of express or implied licenses
10   to the ’066 and ’780 patents and/or other exhaustion defenses at least by virtue of license agreements
11   it has entered into with third parties.
12                                    NINTH AFFIRMATIVE DEFENSE
13                                          (Marking and Notice)
             On information and belief, uCloudlink’s purported claims for relief are limited by failure to
14
     comply with the marking and notice requirements of 35 U.S.C. § 287(a). To the extent that
15
     uCloudlink or its predecessors in interest or its licensees in, to, or under the ’066 and ’780 patents
16
     failed to properly mark any of their relevant products as required by 35 U.S.C. § 287 or to otherwise
17
     give proper notice that Defendants’ actions allegedly infringed the ’066 and ’780 patents,
18
     Defendants are not liable to uCloudlink for the acts alleged to have been performed before it
19
     received actual notice that it was allegedly infringing the ’066 and ’780 patents.
20
                                      TENTH AFFIRMATIVE DEFENSE
21
                                           (Limitation on Costs)
22
             uCloudlink’s request for relief is barred or otherwise limited pursuant to 35 U.S.C. § 288.
23
                                   ELEVENTH AFFIRMATIVE DEFENSE
24                                      (Adequate Remedy at Law)

25           uCloudlink is not entitled to injunctive relief because, inter alia, any injury to uCloudlink is

26   not immediate or irreparable, and uCloudlink has an adequate remedy at law.

27                                  TWELFTH AFFIRMATIVE DEFENSE
                                           (Attorneys’ Fees)
28
                                              8
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 1             Defendants have engaged in all relevant activities in good faith, thereby precluding

 2   uCloudlink, even if it prevails, from recovering its reasonable attorneys’ fees and/or costs under 35

 3   U.S.C. §285.

 4
                               RESERVATION OF ADDITIONAL DEFENSES
 5
               Discovery in this action has just begun and Defendants continue to investigate the allegations
 6
     set forth in the Complaint. Defendants specifically give notice that they intend to rely upon such
 7
     other defenses as may become available by law, or pursuant to statute, or discovery proceedings in
 8
     this case, and hereby reserve the right to assert such additional defenses.
 9

10                                           PRAYER FOR RELIEF

11             WHEREFORE, Defendants pray that the Court enter judgment as follows:

12             A.     Dismiss Plaintiffs’ Complaint with prejudice;

13             B.     Adjudicate that Plaintiffs are not entitled to any relief, including any of the relief

14   requested in their Complaint;

15             C.     Award Defendants their attorneys’ fees and costs incurred herein; and

16             D.     Award Defendants such other relief as this Court may deem appropriate and just

17   under the circumstances.

18
                                               COUNTERCLAIMS
19
               Defendants and Counterclaimants SIMO Holdings Inc. (“SIMO”), Skyroam, Inc., and
20
     Shenzhen Skyroam Technology Co., Ltd. (“Skyroam Shenzhen”) (Skyroam, Inc. and Skyroam
21
     Shenzhen are referred to hereinafter as (“Skyroam”)) (SIMO, Skyroam, Inc., and Skyroam Shenzhen
22
     are referred to collectively hereinafter as “Counterclaimants”), by and through their counsel of
23
     record, assert the following counterclaims against Plaintiffs and Counterdefendants Hong Kong
24
     uCloudlink Network Technology Limited and uCloudlink (America), and allege as follows:
25
               1.     Counterclaimants incorporate the allegations of their Answers as if set forth fully
26
     herein.
27

28
                                               9
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 1                                  NATURE AND BASES OF ACTION

 2          2.      This began as an action arising under the Declaratory Judgment Act, 28 U.S.C. §§

 3   2201 and 2202 and the United States Patent Act, 35 U.S.C. § 1 et seq. In their original Answer and

 4   Counterclaims, SIMO and Skyroam, Inc. req uested declarations that: (i) they do not infringe any

 5   valid, enforceable claim of U.S. Patent No. 9,432,066 (“the ’066 patent”) and U.S. Patent No.

 6   9,548,780 (“the ’780 patent”); and (ii) the claims of the ’066 and ’780 patents are invalid. SIMO

 7   and Skyroam, Inc. still advance their patent claims here.

 8          3.      Counterclaimants recently discovered, however, that the uCloudlink entities,

 9   including Counterdefendants and fellow uCloudlink entities Shenzhen uCloudlink Network

10   Technology Co., Ltd. and uCloudlink (HK) Co., Ltd., have engaged in a systematic conspiracy to

11   steal Counterclaimants’ core confidential, proprietary, and trade secret technologies, and use those

12   trade secret technologies to develop Counterdefendants’ own products to directly compete with

13   Counterclaimants. Counterdefendants have also used Counterclaimants’ trade secrets to illegally

14   obtain patent protection in China on several of the trade secret technologies they blatantly conspired

15   to steal from Counterclaimants.2

16          4.      Counterdefendants’ theft of Counterclaimants’ trade secrets starts with a Chinese

17   citizen, Wang Bin. Mr. Bin worked with Counterdefendants’ CEO Gao Wen and other uCloudlink

18   founders at the Chinese telecommunications company, Huawei. Mr. Gao, and upon information and

19   belief other individuals connected to Counterdefendants, left Huawei to form Counterdefendants in

20   part to compete with Counterclaimants. Meanwhile Mr. Bin left his Huawei colleagues to join

21   Counterclaimant Skyroam Shenzhen.

22          5.      Huawei is internationally infamous for its widespread culture of industrial espionage,

23   including recently running a “bonus scheme” to encourage and incentivize workers to steal rival

24   companies’ technology.

25

26   2
      In addition to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202 and the United States
27   Patent Act, 35 U.S.C. § 1 et seq., this case now arises under the Defend Trade Secrets Act of 2016,
     18 U.S.C. § 1836 et seq. and the California Uniform Trade Secrets Act, Cal. Civ. Code §§ 3426 et
28   seq.
                                                        10
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 1          6.      Mr. Bin worked for Skyroam Shenzhen from April 2013 until August 2013. During

 2   his short time at Skyroam Shenzhen, Mr. Bin had access to Skyroam’s sensitive, top secret,

 3   confidential, proprietary, and trade secret information.

 4          7.      Unbeknownst to Counterclaimants until very recently, Mr. Bin used his time at

 5   Skyroam Shenzhen to collect and purloin Counterclaimants’ trade secrets for the purpose of using

 6   them at Counterdefendants to create products that compete with Counterclaimants’.

 7          8.      Approximately one month after Mr. Bin left Skyroam Shenzhen, in September 2013,

 8   he joined his former Huawei colleagues at a uCloudlink entity as an employee.

 9          9.      Counterclaimants were unaware of these facts until over the course of discovery in

10   SIMO’s affirmative patent infringement case in the Southern District of New York,3 it became clear

11   that Counterdefendants possessed numerous documents that indisputably contain Counterclaimants’

12   confidential, proprietary, and trade secret information, related to the same general technology behind

13   Counterdefendants’ core Glocalme products, which directly compete with Counterclaimants’

14   products.

15          10.     On October 12, 2018, Counterdefendants supplemented their response to

16   Counterclaimants’ interrogatories in the New York Patent Case, including an interrogatory that

17   sought the identity of any former SIMO employees that subsequently joined uCloudlink. For the

18   first time, Counterdefendants belatedly added Mr. Wang Bin as a current uCloudlink employee, who

19   was formerly employed by Skyroam Shenzhen. Counterdefendants indicated that Mr. Bin might

20   have information relevant to claims and/or defenses in that action.

21          11.     That same day, presumably in response to Counterclaimants’ written discovery

22   requests in the New York Patent Case seeking “documents relating to SIMO,” Counterdefendants

23   produced nearly thirty thousand pages of documents, which included over ten separate documents

24   belonging to Counterclaimants. Many of these documents were marked internally as

25

26
     3
27    SIMO’s affirmative patent case in the Southern District of New York, SIMO Holdings Inc. v. Hong
     Kong Ucloudlink Network Technology Ltd., et al., Case No. 18-cv-5427(JSR), is referred to
28   hereinafter as the “New York Patent Case.”
                                                     11
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 1   Counterclaimants’ “Confidentiality Level: Top Secret” and/or bore Skyroam’s trademark. These

 2   documents are referred to collectively hereinafter as the “Skyroam Confidential Documents.”

 3          12.     One of the Skyroam Confidential Documents (Bates No. UCLOUDLINK0043869),

 4   by way of example, contains Counterclaimants’ confidential, proprietary, and trade secret system

 5   design specifications that are indisputably not public information and that could only be obtained by

 6   improper means from Skyroam.

 7          13.     Not so coincidentally, more than one of the Skyroam Confidential Documents,

 8   including UCLOUDLINK0043869 and UCLOUDLINK0043881, are authored by Wang Bin––the

 9   former systems architect at Skyroam––identified for the first time in Counterdefendants’

10   supplemental interrogatory responses in the New York Patent Case as its current employee on the

11   same day Counterdefendants served the massive production containing the Skyroam Confidential

12   Documents.

13          14.     On October 19, 2018, at the parties’ Markman hearing in the New York Patent Case,

14   the New York Court asked Counterdefendants to explain the circumstances under which they came

15   into possession of the Skyroam Confidential Documents.

16          15.     On the record before the Court, Counterdefendants immediately pointed the finger at

17   Wang Bin. Counterdefendants’ counsel stated that Wang Bin “used his personal computer with the

18   work computer together while he work[ed] with Skyroam. So later on when he joined uCloudlink,

19   he copied the same documents . . . to [his] uCloudlink work computer.”

20          16.     Counterdefendants’ attorneys also indicated that Wang Bin explicitly refused to

21   cooperate with the forensic expert Counterdefendants hired to create an image and preserve the

22   contents of Wang Bin’s personal computer––the very computer that he admitted contained and,

23   barring illegal spoliation of evidence, still contains Counterclaimants’ confidential, proprietary, and

24   trade secret information. Counterdefendants admitted that they sought to image Mr. Bin’s personal

25   computer which contained the Skyroam Confidential Documents, but Mr. Bin refused to allow a

26   vendor hired and selected by his own company’s lawyers.

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 1          17.     The Court was “trouble[d]” by this and recommended that Counterdefendants

 2   “bring[] more pressure to bear on Mr. [Bin] to give access to his personal computer because it is

 3   compromising his ability to be a useful employee, and that does affect the company.”

 4          18.     Ultimately, at a time unknown to Counterclaimants, but before November 12, 2018,

 5   an electronic image of Mr. Bin’s personal computer was apparently taken. Mr. Bin and

 6   Counterdefendants have refused to allow Counterclaimants access to this electronic image to learn of

 7   the extent of Mr. Bin’s theft.

 8          19.     After the October 19, 2018 hearing Counterclaimants discovered that

 9   Counterdefendants’ counsel’s statement that Mr. Bin came into possession of the Skyroam

10   Confidential Documents due to his use of a personal computer while at Skyroam was misleading and

11   incorrect. Wang Bin later testified under oath that he used a thumb drive to steal the documents

12   from Skyroam and to copy the documents to his home computer.

13          20.     On November 7, 2018, Wang Bin was deposed.

14          21.     When asked during his deposition about his theft of the Skyroam Confidential

15   Documents, Mr. Bin initially refused to answer many related questions based on a vague assertion of

16   “personal privacy” on at least 16 different occasions. Counterclaimants moved to compel his

17   testimony over the baseless objection, and the New York District Court granted Counterclaimants’

18   motion. The Court also prohibited Counterdefendants’ counsel from making any statements other

19   than “objection” due to what it deemed was inappropriate conduct by Counterdefendants’ counsel at

20   the first day of the deposition.

21          22.     On November 8, 2018, thirty minutes before the second day of Mr. Bin’s deposition

22   was to commence, Counterdefendants’ counsel unilaterally cancelled the deposition asserting,

23   incorrectly, that a conflict had “arisen” due to the Court’s order compelling Mr. Bin’s testimony.

24   During a telephonic conference with the Court the following day, the Court noted that a conflict had

25   not in fact “just arisen” due to its order compelling Mr. Bin’s testimony, and that Counterdefendants

26   knew or should have known about any such conflict no later than the October 19, 2018 hearing.

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 1           23.     Mr. Bin’s second day of deposition was then rescheduled for several days later, on

 2   November 12, 2018.

 3           24.     At the second day of the deposition, Counterclaimants again questioned Mr. Bin

 4   about his theft of Counterclaimants’ trade secrets. Rather than asserting a “privacy” objection or

 5   providing any response to these questions, Mr. Bin refused to answer and pleaded the Fifth

 6   Amendment of the United States Constitution. Indeed, Wang Bin pleaded the Fifth Amendment to

 7   at least forty-one (41) separate questions, including to the question of whether “in [his] view is

 8   stealing wrong?”

 9           25.     Mr. Bin would not provide an explanation of why he stole Counterclaimants’ trade

10   secrets or the extent of his theft.

11           26.     uCloudlink terminated Mr. Bin either immediately after the second day of his

12   deposition or close in time thereto.

13           27.     Further investigation by Counterclaimants revealed that the Skyroam Confidential

14   Documents, along with other of Counterclaimants’ confidential, proprietary and trade secret

15   information, were discussed by key uCloudlink employees and used by Shenzhen uCloudlink

16   Network Technology Co., Ltd. (“uCloudlink Shenzhen”), an affiliate of Counterdefendants, in patent

17   applications filed in China naming Wang Bin as one of the inventors.

18           28.     Significantly, Counterdefendants’ CEO, Gao Wen, with whom Mr. Bin worked at

19   Huawei before joining Skyroam Shenzhen, is named as a co-inventor on two of these patent filings

20   that use and disclose some of Counterclaimants’ trade secrets, and other senior executives at

21   Counterdefendants are also named as co-inventors with Wang Bin on others of these patents.

22           29.     The only plausible explanation for Counterdefendants possession and use of

23   Counterclaimants’ trade secrets is that Counterdefendants’ most senior executives conspired with

24   Wang Bin to steal Counterclaimants’ core trade secrets, and used these core trade secrets to unfairly

25   compete with Counterclaimants. This conclusion is further corroborated by Counterdefendants

26   testimony that Wang Bin, uCloudlink’s CEO Gao Wen, and––upon information and belief––

27   additional executives at Counterdefendants, worked together at Huawei prior to joining uCloudlink.

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 1          30.     Subsequent internal technical documents drafted by uCloudlink employees as of

 2   November 24, 2016, expound upon the details disclosed in the Skyroam Confidential Documents

 3   and, therefore, evidence Counterdefendants’ use and/or imminent intent to use the information

 4   contained within the Skyroam Confidential Documents in the development of Counterdefendants’

 5   WiFi hotspot devices.

 6          31.     Based on the production of the Skyroam Confidential Documents, Counterclaimants

 7   were able to identify at least one Chinese patent application, CN105491555A, that discloses the

 8   contents of the Skyroam Confidential Documents copied over from Wang Bin’s Skyroam computer

 9   to his uCloudlink computer. The patent application lists Wang Bin and uCloudlink’s CEO, Gao

10   Wen, as co-inventors.

11          32.     CN105491555A’s technical disclosure, which lists Wang Bin as its author, includes

12   large sections that copied word for word substantial passages from the stolen Skyroam trade secret

13   document.

14          33.     In addition, Counterclaimants have identified the following patents that uCloudlink

15   entities applied for and own that list Wang Bin as an inventor and that, on information and belief,

16   disclose Counterclaimants’ stolen trade secrets: CN105282701-A (application publication date: Jan.

17   27, 2016), CN105228179-A (application publication date: Jan. 6, 2016), CN105979500-A

18   (application publication date: Sept. 28, 2016), CN105813233-A (application publication date: July

19   27, 2016), CN106211119-A (application publication date: Dec. 7, 2016).

20          34.     The Skyroam Confidential Documents reveal trade secrets that include, inter alia, key

21   innovative and cost saving solutions to solving specific problems relating to roaming SIM cards,

22   protocol for upgrade designs, methods of use for proxy communication servers, virtual SIM

23   allocation, design of backend billing system, and data link management for carrier re-authentication.

24   uCloudlink’s use of such information has caused and will continue to cause substantial and

25   irreparable injury to Counterclaimants.

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 1          35.     Counterdefendants continue to misappropriate Skyroam’s trade secrets by selling

 2   products developed using Skyroam’s trade secrets and that incorporate and embody Skyroam’s trade

 3   secret technology.

 4          36.     Counterclaimants bring this action to halt and remedy the intentional dissemination

 5   and use of their intellectual property, in violation of federal and state trade secret misappropriation

 6   laws and the federal patent laws of the United States.

 7
                                                 THE PARTIES
 8
            37.     SIMO is a company incorporated under the laws of Cayman Islands and has its
 9
     principal place of business at Xihai Mingzhu Building, 1001 Nanshan District, Taoyuan Road
10
     Shenzhen City, Guangdong Province, China.
11
            38.     Founded in 2008, SIMO is a worldwide leading provider of software-based mobile
12
     connectivity solutions. SIMO is a pioneer and innovator in the development of next-generation
13
     virtual SIM technology technologies which enable mobile communications worldwide through local
14
     connectivity. SIMO’s innovative technology is available in over 120 countries at over 500 retail
15
     locations worldwide.
16
            39.     Skyroam, Inc. is a company incorporated under the laws of the state of California
17
     with a principle place of business at 180 Sansome Street, Suite 200, San Francisco, CA 94104.
18
            40.     Skyroam Shenzhen is a company incorporated under the laws of the People’s
19
     Republic of China and has its principal place of business at Block F, 710-716 Xihai Mingzhu
20
     Building, Taoyun Road, Nanshan District Shenzhen, 518052, China.
21
            41.     Founded in 2009, Skyroam Shenzhen is a leading provider of international roaming
22
     solutions for mobile phones and mobile broadband.
23
            42.     According to Plaintiffs’ Complaint, Plaintiff Hong Kong uCloudlink Network
24
     Technology Limited is a company incorporated under the laws of Hong Kong SAR, China, with a
25
     principal place of business at 29/F, One Pacific Centre, 414 Kwun Tong Road, Kwun Tong, KLN,
26
     Hong Kong.
27

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 1             43.   According to Plaintiffs’ Complaint, Plaintiff uCloudlink (America), Ltd. is a

 2   company incorporated under the laws of the state of New York, with a principal place of business at

 3   205 East 42nd Street, 20th Floor, New York, NY 10017.

 4
                                        JURISDICTION AND VENUE
 5
               44.   These Counterclaims arise under the Federal Declaratory Judgment Act, 28 U.S.C. §
 6
     2201 et seq., the United States Patent laws, 35 U.S.C. § 101 et seq, the Defend Trade Secrets Act of
 7
     2016, 18 U.S.C. § 1836 et seq., and the California Uniform Trade Secrets Act, Cal. Civ. Code §§
 8
     3426 et seq.
 9
               45.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338, 2201,
10
     and 2202. This Court also has personal jurisdiction over Counterdefendants because, among other
11
     reasons, Counterdefendants have asserted the ’066 and ’780 patents against Counterclaimants in its
12
     Complaint in this action in this jurisdiction.
13
               46.   uCloudlink (America), Ltd. directly and/or through its affiliates and agents provides
14
     products and services to travelers throughout the United States and in this judicial district and
15
     abroad.
16
               47.   In addition, this Court has personal jurisdiction over Counterdefendants because they,
17
     directly and or through its affiliates and agents, have conducted and do business within the United
18
     States and California. Due at least to their substantial business conducted in this forum, directly
19
     and/or through intermediaries, including (i) having solicited business in the Republic of California
20
     and in this District, transacted business within the Republic of California and in this District, and
21
     attempted to derive financial benefit from residents of the Republic of California and this District,
22
     including benefits directly related to the patent infringement and trade secret misappropriation claim
23
     set forth herein; (ii) having placed their products and services into the stream of commerce
24
     throughout the United States and having been actively engaged in transacting business in California
25
     and in this District; and (iii) either alone or in conjunction with others, having committed acts of
26
     trade secret misappropriation within California and in this District, as, on information and belief,
27
     Counterdefendants, directly and/or through intermediaries, have advertised (including through
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 1   websites), offered to sell, sold, and/or distributed products that use Counterclaimants’ trade secrets,

 2   and/or have induced the sale and use of products that use Counterclaimants’ trade secrets in the

 3   United States, California, and this District. Further, Counterdefendants have, directly or through

 4   their distribution network, purposefully and voluntarily placed such products in the stream of

 5   commerce knowing and expecting them to be purchased and used by consumers in California and in

 6   this District.

 7           48.      In addition, uCloudlink (America), Ltd. is subject to the Court’s general jurisdiction

 8   by regularly doing or soliciting business, engaging in other persistent courses of conduct including

 9   utilizing the justice systems established and based in California, and/or deriving substantial revenue

10   from goods and services provided to individuals in California and in this District.

11           49.      Counterdefendants do one or more of the following with the Wi-Fi hotspot devices

12   that embody Counterclaimants’ patented and trade secret technology: (a) make these devices in the

13   United States for sale to customers, including customers in California; (b) import these devices into

14   the United States for sale to consumers, including consumers in California; (c) sell them or offer

15   them for sale in the United States, including to customers in California; and/or (d) sell them to

16   customers who incorporate them into products that such customers import, sell, or offer for sale in

17   the United States, including in California.

18           50.      Counterdefendants, directly or through intermediaries (including distributors,

19   retailers, and others) ship, distribute, offers for sale, sell, and advertise products that use

20   Counterclaimants’ trade secrets in this District. For example, Counterdefendants have offered for

21   sale and sold products that use Counterclaimants’ trade secrets in this judicial District, including at

22   least the Glocalme G2, G3 and U2 Series WiFi hotspot devices (see

23   https://www.amazon.com/GlocalMe-Hotspot-Upgraded-Worldwide-

24   International/dp/B072KKF37M/ref=sr_1_1?ie=UTF8&qid=1528265125&sr=8-

25   1&keywords=ucloudlink; https://www.amazon.com/GlocalMe-Hotspot-America-Unlocked-

26   Roaming/dp/B073PXFWBG/ref=sr_1_3?ie=UTF8&qid=1528265125&sr=8-

27   3&keywords=ucloudlink) and the S1 mobile phone (see https://www.amazon.com/GlocalMe-

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 1   G1701-Unlocked-Smartphone-

 2   Global/dp/B07BY2394H/ref=sr_1_1?ie=UTF8&qid=1534286109&sr=8-

 3   1&keywords=ucloudlink+world+phone ).

 4            51.   In addition, on information and belief, consumers from anywhere in the country,

 5   including California and this District, can purchase products that use Counterclaimants’ trade secrets

 6   through, e.g., Amazon.com. Counterdefendants have purposefully availed itself of the privileges of

 7   conducting business in the United States, and more specifically in this District. Counterdefendants

 8   sought protection and benefit from the laws of California by placing products embodying

 9   Counterclaimants’ trade secrets into the stream of commerce through an established distribution

10   channel with the awareness and/or intent that they will be purchased by consumers in this District.

11            52.   Venue is appropriate in this District under 28 U.S.C. § 1391(b)-(c) because

12   Counterdefendants brought their Complaint for infringement of the ’066 and ’780 patents in this

13   Court.

14
                              FACTUAL ALLEGATIONS RELATED TO
15                         PLAINTIFF’S PATENT INFRINGEMENT CLAIMS
16            53.   According to Plaintiffs’ Complaint, Plaintiff Hong Kong uCloudlink Network
17   Technology Limited purports to be “the owner of the right, title and interest in and to the ’066
18   patent, including the right to assert all causes of action arising under said patent and the right to any
19   remedies for infringement of them.”
20            54.   According to Plaintiffs’ Complaint, Plaintiff Hong Kong uCloudlink Network
21   Technology Limited purports to be “the owner of the right, title and interest in and to the ’780
22   patent, including the right to assert all causes of action arising under said patent and the right to any
23   remedies for infringement of them.”
24            55.   According to Plaintiffs’ Complaint, Plaintiff uCloudlink (America), Ltd. purports to
25   be the exclusive licensee of the ’066 and ’780 patents.
26            56.   Counterclaimants do not infringe directly or indirectly, by inducement or by
27   contribution, any valid, enforceable claim of the ’066 and ’780 patents.
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 1            57.    Upon information and belief, all claims of the ’066 and ’780 patents are invalid for

 2   failure to meet the requirements of the Patent Act, 35 U.S.C. § 1 et seq., including, but not limited to,

 3   35 U.S.C. §§ 101, 102, 103, and 112.

 4
                         FACTUAL ALLEGATIONS RELATED TO
 5            COUNTERCLAIMANTS’ TRADE SECRET MISAPPROPRIATION CLAIMS
 6
              58.    Skyroam is a global wifi device and service provider. As alleged in
 7
     Counterdefendants’ Complaint, Skyroam and uCloudlink compete in the United States and in the
 8
     Northern District of California. Contrary to Counterdefendants’ allegations, however, it is
 9

10   Counterdefendants ––not Skyroam––that have stolen intellectual property.

11       A.   The Origins of Skyroam as an Unconventional and Nimble Wifi Device and Service
              Provider
12

13            59.    Skyroam is a leading global wifi device and service provider that keeps travelers
14   connected around the world through mobile hotspots powered by its vSIM technology.4
15            60.    In 2008, SIMO founded and patented its virtual SIM technology, some of which is
16   disclosed in the Asserted Patents discussed in the “Nature and Bases of Action” section, above.
17            61.    In 2013, SIMO launched its vSIM platform. The vSIM platform delivers local data,
18   internationally, allowing the user to connect to dozens of different cellular networks without
19   changing his or her SIM card.
20            62.    Today, Skyroam offers consumers one of the best mobile wifi experiences available
21   and is committed to delivering more great products and services in the future.
22            63.    Skyroam has created a trusted user experience that is a top choice amongst its 15
23   million users worldwide including travelers from the Americas, Europe, and Asia.
24            64.    In order to support the long-term direction of the company and its customers,
25   Skyroam believes it is paramount to protect its intellectual property.
26

27
     4
28       SIMO is the holding company of Skyroam.
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 1          65.     Skyroam’s CEO, Jing Liu, has been quoted publicly, stating: “Since starting the

 2   company, our team has worked hard to create our proprietary breakthrough technology. . . . We have

 3   invested significant time and financial resources to push innovation within the industry. It is key

 4   that we protect the work of our team, in order to safeguard our commitment to users and

 5   stakeholders, as well as drive further disruption.”

 6   (https://www.businesswire.com/news/home/20180622005462/en/SIMO-Holdings-Holding-

 7   Company-Skyroam-Files-Infringement_).

 8          66.     Skyroam receives considerable praise from its customers. By way of example, one of

 9   Skyroam’s customers has commented: “The Skyroam device . . . just works! I travel a lot and it has

10   been a game changer for me. I could become a rep. as I sell them to other travelers I meet who are

11   still messing around with foreign SIM cards and holding their breath till they get to a wifi signal.”

12   https://www.skyroam.com/how-it-works.

13          67.     Another customer has commented: “I’ve used Skyroam all over the world with great

14   success. I no longer have to wait in line then try to find the right SIM card for my countless mobile

15   hot-spots, all while trying to overcome language barriers . . . I will not travel again without it.” Id.

16    B.    Skyroam Developed, Owns, and Protects its Trade Secrets

17          68.     Skyroam is the owner of trade secrets and confidential information relating to

18   solutions for optimizing the virtual SIM technology. Skyroam’s trade secrets include, inter alia,

19   methods and solutions for roaming SIM cards, protocol for upgrade designs, methods of use for

20   proxy communication servers, virtual SIM allocation, design of the backend billing system, and data

21   link management for carrier re-authentication.

22          69.     Skyroam’s trade secrets are valuable and crucial to the implementation of its business

23   and competitive market position and all Skyroam entities have invested substantial time, effort, and

24   money in developing the trade secrets at issue in this case.

25          70.     Since 2008, Skyroam has invested and continues to invest substantial amounts of

26   money into research and development and implementation of its trade secrets and other intellectual

27   property.

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 1          71.     Skyroam has devoted the bulk of its research and development efforts to create the

 2   most efficient and effective solution for optimizing the vSIM technology.

 3          72.     These trade secrets derive independent value because they significantly increase the

 4   usability, reliability, and consistency of the connections required for mobile hotspot users through

 5   vSIM technology.

 6          73.     Indeed, Skyroam has conducted cost/benefit analyses surrounding these very trade

 7   secrets and has concluded that their implementation is vital to the profitability of its business.

 8          74.     Skyroam’s ability to achieve success in the competitive marketplace hinges on its

 9   ability to protect its proprietary information from public disclosure and from further use outside of

10   Skyroam and in particular, by its competitors.

11          75.     Skyroam’s trade secrets are not generally known or readily ascertainable nor could

12   they be properly acquired or duplicated by others.

13          76.     Skyroam takes diligent and reasonable steps to protect its proprietary information.

14   These measures include, by way of example, password protected databases, confidentiality and non-

15   disclosure agreements, and limitations on dissemination of information on a need-to-know basis.

16          77.     To protect its proprietary information internally, Skyroam requires each employee to

17   review and sign a Technical Non-Disclosure Agreement. The Technical Non-Disclosure Agreement

18   is signed by the employee on the same date that the employee enters into his or her employment

19   agreement with Skyroam.

20          78.     When an employee is terminated or voluntarily discontinues employment with

21   Skyroam, he or she must attend an exit interview with Skyroam management. At such interview,

22   employees are required to return all Skyroam items and destroy any and all of Skyroam’s

23   confidential information in their possession.

24          79.     With regard to third parties, prior to any disclosure of confidential and/or proprietary

25   information, Skyroam obligates third parties to sign a non-disclosure agreement. Skyroam also

26   marks any document that might be disclosed to a third party under a non-disclosure agreement

27   “CONFIDENTIAL.”

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 1          80.      Skyroam takes substantial steps to maintain electronic and computer security, as well.

 2   For example, Skyroam’s policies, which are printed and disseminated to its employees, require

 3   employees to check documents into the central server upon usage.

 4          81.      Further, documents with the highest confidentiality, such as the Skyroam Confidential

 5   Documents at issue here, are organized into subsystems. These subsystems are only available to

 6   relevant team members who have electronic privileges to view or download.

 7          82.      Even more, the Skyroam server and computer that host documents of the highest

 8   sensitivity, like the Skyroam Confidential Documents, are located in an isolated network that is

 9   separate from the entire company’s intranet.

10          83.      To protect its electronic systems from outside access, each Skyroam employee is

11   issued a user name and password, which are required at several different levels to access Skyroam’s

12   proprietary information. Passwords are required to access different platforms.

13          84.      Finally, Skyroam employs several tiers of physical barriers to the access and use of

14   proprietary and confidential information. For example, to access Skyroam’s offices, an individual

15   must go through multiple badged doors. Visitors are required to check in and register with a

16   receptionist.

17          C. Counterdefendants’ Unlawful Trade Secret Misappropriation

18          85.      Skyroam employed Wang Bin as an integral member of its team, as Systems

19   Architect, beginning on April 18, 2013.

20          86.      In this role, Wang Bin obtained detailed knowledge of Skyroam’s confidential,

21   proprietary, and trade secret information and worked side by side with key SIMO technical

22   employees to create Skyroam’s trade secrets, including solutions for roaming SIM cards, protocol

23   for upgrade designs, methods of use for proxy communication servers, virtual SIM allocation, design

24   of backend billing system, and data link management for carrier re-authentication.

25          87.      Indeed, Wang Bin’s involvement in this critical technical process led to the

26   development of one of the several trade secrets that Counterdefendants conspired to misappropriate.

27   This is evidenced by several email exchanges between Wang Bin and Skyroam’s technical team. In

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 1   these emails, Skyroam’s technical team, including Wang Bin, discuss the details of several

 2   techniques that Skyroam was testing to optimize its processes for the allocation of virtual SIM cards.

 3          88.        Moreover, as a system architect, Wang Bin participated in the conception, invention,

 4   research and development, and reduction to practice of Skyroam’s trade secret solutions for roaming

 5   SIM cards, protocol for upgrade designs, methods of use for proxy communication servers, virtual

 6   SIM allocation, design of backend billing system, and data link management for carrier re-

 7   authentication.

 8          89.        As a part of his employment, Wang Bin entered into a Technical Non-Disclosure

 9   Agreement with Skyroam.

10          90.        Wang Bin’s Technical Non-Disclosure Agreement with Skyroam existed to protect

11   highly sensitive, confidential, proprietary, and trade secret information that belongs to Skyroam

12   from public disclosure and from further use outside of Skyroam’s four walls.

13          91.        Pursuant to the Technical Non-Disclosure Agreement, Skyroam owns any intellectual

14   property that Wang Bin creates during his employment with Skyroam.

15          92.        The Technical Non-Disclosure Agreement defines the trade secrets as including

16   operation secrets, management secrets, and technology secrets. The scope of trade secrets includes,

17   inter alia, the work inventions, work results, results for researches and patented technologies of

18   Wang Bin during the term of his employment contract.

19          93.        While working for Skyroam, Wang Bin was substantially involved in creating

20   Skyroam’s solutions for roaming SIM cards, protocol for upgrade designs, methods of use for proxy

21   communication servers, virtual SIM allocation, design of backend billing system, and data link

22   management for carrier re-authentication, which, according to the Technical Non-Disclosure

23   Agreement, are technical and/or operation secrets that belong to Skyroam.

24          94.        Wang Bin was knowledgeable and highly involved in the conception and attempted

25   implementation of this virtual SIM optimization solution. Indeed, Wang Bin communicated

26   frequently with key technical Skyroam employees to exchange ideas and develop feasibility studies,

27   based on Skyroam’s confidential and proprietary information.

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 1          95.    While employed by Skyroam, Wang Bin authored numerous specification documents

 2   on Skyroam’s behalf, including many of the Skyroam Confidential Documents.

 3          96.    For example, UCLOUDLINK0043869––one of the documents produced by

 4   Counterdefendants in the New York Patent Case––indicates on its face that it is a “Top Secret”

 5   document authored by Wang Bin in the first instance on July 10, 2013, with subsequent revisions

 6   by Wang Bin on July 15 and July 17, 2013.

 7          97.    Wang Bin drafted this “system design specification document” and noted that “its

 8   purpose is to describe the system design concepts to be used as guidance for development personnel

 9   in the process of development and testing personnel in the process of testing.”

10          98.    Additionally, in his position as a system architect, Wang Bin had access to a

11   substantial number of confidential and sensitive documents containing information about Skyroam’s

12   trade secrets even beyond the documents that he directly authored.

13          99.    Simply put, Wang Bin had access to the information required to draft a specifications

14   roadmap for Skyroam’s development and testing personnel to optimize Skyroam’s proprietary

15   vSIM technology.

16          100.   While employed by Skyroam and in direct violation of Skyroam’s Technical Non-

17   Disclosure Agreement and electronic usage policies, Wang Bin copied the Skyroam confidential,

18   proprietary and trade secret materials, including but not limited to the Skyroam Confidential

19   Documents, to a USB drive and then downloaded the Skyroam Confidential Documents to his

20   personal computer.

21          101.   Upon information and belief, Wang Bin’s misappropriation of Skyroam trade secrets

22   was part of a conspiracy with senior management at Counterdefendants to obtain Skyroam trade

23   secrets in order to unfairly compete with Skyroam.

24          102.   On August 20, 2013, little more than four months after he first joined Skyroam, Wang

25   Bin suddenly resigned from Skyroam after his demand that his salary be significantly increased was

26   reasonably rejected by Skyroam management.

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 1         103.    Upon information and belief, Wang Bin’s short tenure with Skyroam was

 2   manufactured as a part of the conspiracy he and several of the senior managers at

 3   Counterdefendants concocted during their prior employment together at Huawei. This conspiracy

 4   was meant to send Wang Bin into Counterdefendants’ main competitor, to learn Skyroam’s trade

 5   secrets, and to subsequently use those trade secrets in order to compete with Skyroam at

 6   Counterdefendants.

 7         104.    While Wang Bin’s time at Skyroam was brief, his involvement in the development of

 8   and access to SIMO’s confidential, proprietary, and trade secret information was deep. Indeed,

 9   over the course of his four months of employment at Skyroam, Wang Bin spent nearly all of his

10   time under the proverbial cloak of Skyroam’s technical business.

11         105.    Upon his resignation, Wang Bin did not inform Skyroam whether he had found a new

12   place of employment and if so, where that next place of employment would be. According to

13   Counterdefendants’ discovery responses in the New York Patent Case, Wang Bin joined Shenzhen

14   Netshun Technology Co., Ltd. just one month after leaving Skyroam, as a system engineer for

15   testing, maintenance, and technical support of backend servers.

16         106.    Shenzhen Netshun Technology Co., Ltd. was an affiliate entity of Counterdefendants,

17   and in fact Wang Bin interviewed for this position with Tan Zhu who was the Vice President of

18   Hong Kong uCloudlink Network Technology Ltd. Shenzhen Tenshun Technology Co., Ltd. was

19   subsequently dissolved, and its business was merged into uCloudlink Shenzhen.

20         107.    According to Counterdefendants’ discovery responses, Wang Bin joined uCloudlink

21   Shenzhen on September 29, 2014, as the Director of Operation and Maintenance Department to

22   support operation and maintenance of backend servers.

23         108.    According to Counterdefendants’ discovery responses, on September 1, 2015 Wang

24   Bin became the Director of Operation and Maintenance Department to support operation and

25   maintenance of backend servers at uCloudlink Shenzhen.

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 1         109.    Wang Bin was referred to as a “general manager” by other uCloudlink employees.

 2   This is the same title used internally for senior management at Counterdefendants, including their

 3   CEO Gao Wen.

 4         110.    According to Counterdefendants’ discovery responses, in March of 2017, Wang Bin

 5   began serving as the leader of the Security Group at uCloudlink Shenzhen, responsible for

 6   establishing information security systems, security compliance, and audit.

 7         111.    While employed by uCloudlink Shenzhen, Wang Bin transferred at least some subset

 8   of the Skyroam Confidential Documents he stole from Skyroam to his uCloudlink work computer.

 9         112.    Wang Bin disclosed Skyroam’s trade secrets to other uCloudlink employees––

10   including, but not limited to, the senior executives at Counterdefendants who are listed as co-

11   inventors on the uCloudlink patents that disclose Skyroam trade secrets.

12         113.    Additionally, a document produced by Counterdefendants in the New York Patent

13   case evidences that as of November 24, 2016, two other uCloudlink employees had knowledge of

14   Skyroam’s trade secrets.

15         114.    The Skyroam trade secrets disclosed by Wang Bin to others at Counterdefendants

16   include, inter alia, trade secrets related to solutions for roaming SIM cards, protocol for upgrade

17   designs, methods of use for proxy communication servers, virtual SIM allocation, design of

18   backend billing system and data link management for carrier re-authentication.

19         115.    Perhaps most egregious is uCloudlink Shenzhen’s Chinese patent application

20   (CN105491555A) that discloses the contents of the Skyroam “top secret” document Wang Bin

21   copied from his Skyroam computer. The patent application lists Wang Bin and the CEO Gao Wen

22   as co-inventors. Indeed, the patent’s technical disclosure, drafted by Wang Bin, copied word for

23   word a substantial amount of passages from the stolen Skyroam trade secret document.

24         116.    On October 23, 2015, several uCloudlink employees, including Gao Wen and Wang

25   Bin, participated in a patent evaluation conference, discussing the contents of the proposed patent

26   application that led to CN105491555A. This email exchange makes clear that it was Wang Bin

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 1       who was responsible for drafting patent applications related to the very same technology he worked

 2       on at Skyroam, while employed by uCloudlink Shenzhen.

 3               117.   The patent application that led to CN105491555A, which contains a mirror image

 4       description as that contained in one of the Skyroam Confidential Documents that Wang Bin

 5       transferred from his Skyroam computer to his uCloudlink computer, was filed on December 15,

 6       2015.

 7               118.   The patent application was published on April 13, 2016 as CN105491555A.

 8               119.   On May 11, 2016, the patent application that led to CN105491555A entered into

 9       substantive examination.

10               120.   That Wang Bin not only disclosed the contents of the Skyroam Confidential

11       Documents but also worked with multiple colleagues in order to file a patent application disclosing

12       information from the Skyroam Confidential Documents while employed by uCloudlink Shenzhen,

13       evidences Counterdefendants’ knowledge of and participation in the conspiracy to steal and intent

14       to use Skyroam’s trade secrets.

15               121.   Within a year of joining uCloudlink Shenzhen, Wang Bin was listed as the sole or co-

16       inventor on at least seven new patent applications related to SIM technologies.

17               122.   These patent applications include several Skyroam trade secrets that are either

18       reflected in the Skyroam Confidential Documents Wang Bin misappropriated from Skyroam or

19       relate directly to ongoing research and development that Wang Bin participated in during his

20       employment with Skyroam.

21               123.   Skyroam further identifies the following uCloudlink patents that also list Wang Bin as

22       an inventor and disclose Skyroam’s trade secrets: CN105282701-A (application publication date:

23       Jan. 27, 2016), CN105228179-A (application publication date: Jan. 6, 2016), CN105979500-A

24       (application publication date: Sept. 28, 2016), CN105813233-A (application publication date: July

25       27, 2016), CN106211119-A (application publication date: Dec. 7, 2016).5

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28       These patents are referred to collectively hereinafter as the “Bin Patents.”
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 1          124.    At least two of the Bin Patents–– CN105282701-A and CN105228179-A––were

 2   granted on September 25, 2018.

 3          125.    Counterdefendants manufactures, offers for sale, and sells products in the United

 4   States that embody the Bin Patents, and therefore, are based, at least in part, on Skyroam’s trade

 5   secrets and the Skyroam Confidential Documents.

 6          126.    Counterdefendants manufacture, offers for sale, and sales of the products that embody

 7   the Bin Patents is ongoing. (See, e.g., https://www.amazon.com/GlocalMe-Hotspot-Upgraded-

 8   Worldwide-International/dp/B072KKF37M/ref=sr_1_1?ie=UTF8&qid=1528265125&sr=8-

 9   1&keywords=ucloudlink; https://www.amazon.com/GlocalMe-Hotspot-America-Unlocked-

10   Roaming/dp/B073PXFWBG/ref=sr_1_3?ie=UTF8&qid=1528265125&sr=8-

11   3&keywords=ucloudlink) and the S1 mobile phone (see https://www.amazon.com/GlocalMe-

12   G1701-Unlocked-Smartphone-

13   Global/dp/B07BY2394H/ref=sr_1_1?ie=UTF8&qid=1534286109&sr=8-

14   1&keywords=ucloudlink+world+phone).

15          127.    Not only are Counterdefendants’ products sold to United States customers, but

16   according to Counterdefendants’ representatives in the New York Patent Case, Counterdefendants’

17   customers, when traveling to the United States, connect to servers through Counterdefendants’

18   products.

19          128.    Counterdefendants’ intentional offer for sale and use of Skyroam’s trade secrets in the

20   United States, therefore, is ongoing. Because the misappropriation is global in scale, it may not be

21   possible to adequately compensate Skyroam at law and thus the misappropriation irreparably harms

22   Counterclaimants.

23
                                       FIRST COUNTERCLAIM
24                    (Declaratory Judgment of Non-Infringement of the ’066 Patent)
25          129.    Counterclaimants incorporate the allegations set forth in the foregoing paragraphs of
26   these Counterclaims as if fully set forth herein.
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 1          130.    Plaintiffs have alleged in their Complaint that Defendants have directly and/or

 2   indirectly infringed the ’066 patent and that Defendants will continue to engage in these acts.

 3          131.    Defendants have not infringed, directly, contributorily, or by inducement, any valid,

 4   enforceable, properly construed claim of the ’066 patent, either literally or under the doctrine of

 5   equivalents.

 6          132.    There is an actual, substantial, and continuing justiciable controversy between

 7   Counterdefendants and Counterclaimants regarding the alleged infringement of the ’066 patent.

 8          133.    Counterclaimants are entitled to a declaratory judgment that they have not infringed,

 9   and are not infringing, directly or indirectly, any valid, enforceable, properly construed claim of the

10   ’066 patent.

11          134.    Counterdefendants know or should know that Counterclaimants have not and are not

12   in any way infringing the ’066 patent. This is therefore an exceptional case entitling

13   Counterclaimants to an award of their attorneys’ fees pursuant to 35 U.S.C. § 285.

14
                                          SECOND COUNTERCLAIM
15                            (Declaratory Judgment of Invalidity of the ’066 Patent)
16          135.    Counterclaimants incorporate the allegations set forth in the foregoing paragraphs of
17   these Counterclaims as if fully set forth herein.
18          136.    An actual controversy has arisen and exists between the parties regarding invalidity of
19   the claims of the ’066 patent because Plaintiffs assert in their Complaint that Counterclaimants
20   infringe the patent, and that the patent was duly and legally granted.
21          137.    One or more claims of the ’066 patent, as properly construed, are invalid for failure to
22   comply with the requirements of the patent laws of the United States as set forth in Title 35 of the
23   United States Code, including without limitation §§ 101, 102, 103, and/or 112. Particularly, to the
24   extent that any features of the Accused Products infringe claims of the ’066 patent, on information
25   and belief, those claims are invalid at least as to lacking novelty and/or being obvious over the prior
26   art that contained similar features, including without limitation U.S. Patent Nos. 8,116,735 and
27   9,736,689, as well as related prior art, for non-enablement, for indefiniteness, and for lack of
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 1   adequate written description. Counterclaimants reserve the right to amend, supplement, and add

 2   further prior art references and invalidity contentions pursuant to the local rules.

 3          138.    Counterclaimants are entitled to a declaratory judgment that the claims of the ’066

 4   patent are invalid.

 5
                                            THIRD COUNTERCLAIM
 6                         (Declaratory Judgment of Non-Infringement of the ’780 Patent)
 7          139.    Counterclaimants incorporate the allegations set forth in the foregoing paragraphs of
 8   these Counterclaims as if fully set forth herein.
 9          140.    Plaintiffs have alleged in their Complaint that Defendants have directly and/or
10   indirectly infringed the ’780 patent and that Counterclaimants will continue to engage in these acts.
11          141.    Defendants have not infringed, directly, contributorily, or by inducement, any valid,
12   enforceable, properly construed claim of the ’780 patent, either literally or under the doctrine of
13   equivalents.
14          142.    There is an actual, substantial, and continuing justiciable controversy between
15   Counterdefendants and Counterclaimants regarding the alleged infringement of the ’780 patent.
16          143.    Counterclaimants are entitled to a declaratory judgment that they have not infringed,
17   and are not infringing, directly or indirectly, any valid, enforceable, properly construed claim of the
18   ’780 patent.
19          144.    Counterdefendants know or should know that Counterclaimants have not and are not
20   in any way infringing the ’780 patent. This is therefore an exceptional case entitling
21   Counterclaimants to an award of their attorneys’ fees pursuant to 35 U.S.C. § 285.
22
                                        FOURTH COUNTERCLAIM
23                          (Declaratory Judgment of Invalidity of the ’780 Patent)
24          145.    Counterclaimants incorporate the allegations set forth in the foregoing paragraphs of
25   these Counterclaims as if fully set forth herein.
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 1           146.    An actual controversy has arisen and exists between the parties regarding invalidity of

 2   the claims of the ’780 patent because Plaintiffs assert in their Complaint that Defendants infringe the

 3   patent, and that the patent was duly and legally granted.

 4           147.    One or more claims of the ’780 patent, as properly construed, are invalid for failure to

 5   comply with the requirements of the patent laws of the United States as set forth in Title 35 of the

 6   United States Code, including without limitation §§ 101, 102, 103, and/or 112. Particularly, to the

 7   extent that any features of the Accused Products infringe claims of the ’780 patent, on information

 8   and belief, those claims are invalid at least as to lacking novelty and/or being obvious over the prior

 9   art that contained similar features, including without limitation U.S. Patent Nos. 8,116,735 and

10   9,736,689, as well as related prior art, for non-enablement, for indefiniteness, and for lack of

11   adequate written description. Counterclaimants reserve the right to amend, supplement, and add

12   further prior art references and invalidity contentions pursuant to the local rules.

13           148.    Counterclaimants are entitled to a declaratory judgment that the claims of the ’780

14   patent are invalid.
                                        FIFTH COUNTERCLAIM
15                  (Violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836 et seq.)
16           149.    Counterclaimants incorporate the allegations set forth in the foregoing paragraphs of
17   these Counterclaims as if fully set forth herein.
18           150.    The Defend Trade Secrets Act (the “DTSA”) provides a federal private cause of
19   action for “[a]n owner of a trade secret that is misappropriated . . . if the trade secret is related to a
20   product or service used in, or intended for use in, interstate or foreign commerce.” 18 U.S.C. §
21   1836(b)(1). It authorizes courts “to grant an injunction” to “prevent any actual or threatened
22   misappropriation,” including by “requiring affirmative actions . . . to protect the trade secret.” Id. at
23   § 1836(b)(3)(A)(i)–(ii).
24           151.    Under the DTSA, “trade secret” means “all forms and types of financial, business,
25   scientific, technical, economic, or engineering information, including . . . formulas, methods,
26   techniques, processes, procedures, programs, or codes, whether tangible or intangible, and whether
27   or how stored,” if (A) the trade-secret owner “has taken reasonable measures to keep such
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 1   information secret,” and (B) “the information derives independent economic value, actual or

 2   potential, from not being generally known to, and not being readily ascertainable through proper

 3   means by, another person who can obtain economic value from the disclosure or use of the

 4   information.” Id. at § 1839(3).

 5          152.    Skyroam is the owner of trade secrets relating to, inter alia, solutions for roaming

 6   SIM cards, protocol for upgrade designs, methods of use for proxy communication servers, virtual

 7   SIM allocation, design of backend billing system, and data link management for carrier re-

 8   authentication. These trade secrets comprise unique compilations of information that include

 9   proprietary methods for establishing connections, allocating SIM profiles, billing management, and

10   data links management.

11          153.    Skyroam’s trade secrets are not generally known or readily ascertainable nor could

12   they be properly acquired or duplicated by others. Skyroam’s trade secrets indisputably contribute

13   to the monumental success Skyroam has seen in the last ten years, making Skyroam a top choice

14   amongst its 15 million users worldwide including travelers from the Americas, Europe, and Asia.

15          154.    At all times, Skyroam has taken reasonable and extensive efforts to keep its trade

16   secrets secret through the use of Nondisclosure and Confidentiality Agreements, employment

17   agreements, and employee training. As previously discussed in detail, all of Skyroam’s trade secrets

18   are stored on secure servers and are password-protected. Additionally, documents containing

19   Skyroam’s trade secrets are clearly marked “Confidentiality: Top Secret.”

20          155.    At no time did Skyroam consent to Counterdefendants’ improper acquisition, use, or

21   disclosure of its trade secrets or confidential information for any purpose.

22          156.    Skyroam’s trade secrets constitute independent economic value. Since 2008,

23   Skyroam has invested and continues to invest millions of dollars into research and development and

24   implementation of the trade secret protected systems, including its hotspot devices. Skyroam has

25   also invested and continues to invest significant economic resources into refining its products.

26          157.    Skyroam’s trade secrets are crucial to the success of the implementation, operation,

27   and maintenance of Skyroam’s proprietary technology and provide a decisive competitive advantage

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 1   to SIMO and to anyone else with access to this information. Skyroam’s trade secrets provide the

 2   company with a critical market advantage in attracting new customers, based on their connection

 3   speed and reliability, for example.

 4          158.    Wang Bin acquired Skyroam’s trade secrets through a relationship of trust, in which

 5   he signed a Technical Non-Disclosure Agreement and an Employment Agreement that imposed

 6   upon him a duty to maintain the confidentiality of Skyroam’s confidential information and trade

 7   secrets and to not improperly use and/or disclose the same.

 8          159.    Counterdefendants conspired with Wang Bin to improperly acquire Skyroam’s trade

 9   secrets while knowing or having reason to know that Wang Bin owed a duty to Skyroam to maintain

10   the information in secrecy.

11          160.    Moreover, Counterdefendants’ affiliate entities not only misappropriated Skyroam’s

12   trade secrets, but also improperly disclosed that information. For example, uCloudlink Shenzhen has

13   applied for at least 6 Chinese patents listing Wang Bin as inventor that, on information and belief,

14   disclose Skyroam’s trade secrets that uCloudlink conspired with Wang Bin to steal from Skyroam:

15   CN105491555-A (application publication date: April 13, 2016), CN105282701-A (application

16   publication date: Jan. 27, 2016), CN105228179-A (application publication date: Jan. 6, 2016),

17   CN105979500-A (application publication date: Sept. 28, 2016), CN105813233-A (application

18   publication date: July 27, 2016), CN106211119-A (application publication date: Dec. 7, 2016). At

19   least two of these patents–– CN105282701-A and CN105228179-A issued on September 25, 2018.

20          161.    Upon information and belief, Counterdefendants manufactures, offers for sale, and

21   sells products that embody the Bin Patents, and therefore, are based, at least in part, on Skyroam’s

22   trade secrets and the Skyroam Confidential Documents.

23          162.    Counterdefendants’ misappropriation also concerns “product[s] and service[s] used

24   in, or intended for use in interstate or foreign commerce,” pursuant to the Defend Trade Secrets Act.

25   Upon information and belief, Counterdefendants offers for sale and sells products that embody the

26   Bin Patents, and therefore, are based, at least in part, on Skyroam’s trade secrets and the Skyroam

27   Confidential Documents, throughout the United States.

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 1         163.    Specifically Counterdefendants’ acts are in furtherance of misappropriation that

 2   harms Skyroam in the United States, and specifically causes harm to Skyroam, Inc., which is

 3   incorporated under the laws of the state of California with a principle place of business at 180

 4   Sansome Street, Suite 200, San Francisco, CA 94104. Not only are Counterdefendants’ products

 5   sold to United States customers in direct competition with Skyroam, but in addition

 6   Counterdefendants’ customers who purchased products outside of the United States use these

 7   products and connect to Counterdefendants’ servers when travelling within the United

 8   States. Enabling such connections is a core feature and functionality of the misappropriated trade

 9   secrets as well as both the Skyroam’s and Counterdefendants’ competing products.

10         164.    This conduct is not only based on Skyroam’s trade secrets but it also takes place in

11   the United States and affects United States customers and a United States corporation.

12         165.    Counterdefendants manufacture, offers for sale, and sales of the products that embody

13   the Bin Patents is ongoing. (See, e.g., https://www.amazon.com/GlocalMe-Hotspot-Upgraded-

14   Worldwide-International/dp/B072KKF37M/ref=sr_1_1?ie=UTF8&qid=1528265125&sr=8-

15   1&keywords=ucloudlink; https://www.amazon.com/GlocalMe-Hotspot-America-Unlocked-

16   Roaming/dp/B073PXFWBG/ref=sr_1_3?ie=UTF8&qid=1528265125&sr=8-

17   3&keywords=ucloudlink) and the S1 mobile phone (see https://www.amazon.com/GlocalMe-

18   G1701-Unlocked-Smartphone-

19   Global/dp/B07BY2394H/ref=sr_1_1?ie=UTF8&qid=1534286109&sr=8-

20   1&keywords=ucloudlink+world+phone).

21         166.    Counterdefendants have also intentionally, willfully, and maliciously misused trade

22   secrets and/or confidential or proprietary information or knowledge of Skyroam and continues to do

23   so. Counterdefendants’ use of Skyroam’s trade secrets was the result of discovery by improper

24   means by its employee Wang Bin. Skyroam has now discovered evidence that Wang Bin (1)

25   acquired Skyroam’s trade secrets by improper means when he copied them onto a USB drive

26   without permission from anyone at Skyroam; (2) transferred some or all of the contents of the USB

27   drive copies to his personal home computer; (3) further copied Skyroam’s trade secrets to his

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 1   uCloudlink work computer; (4) disclosed Skyroam’s trade secrets to other uCloudlink employees––

 2   including, but not limited to, the senior executives at Counterdefendants who are listed as co-

 3   inventors on the uCloudlink patents that disclose Skyroam trade secrets; (5) and authored patents

 4   now assigned to uCloudlink Shenzhen, founded upon Skyroam’s trade secrets and confidential and

 5   proprietary information––all of which have resulted in the manufacture, offer for sale, and sale of

 6   products that embody Skyroam’s trade secrets in the United States.

 7         167.    Counterdefendants subsequently used this information in connection with its business

 8   activities, in a manner adverse to Skyroam’s business interests. Such use was and is without

 9   Skyroam’s express or implied consent.

10         168.    uCloudlink Shenzhen’s act of listing its senior executives, including but not limited to

11   its CEO, on patent applications that contain Skyroam’s misappropriated trade secrets is evidence

12   that Counterdefendants conspired with Wang Bin to unfairly compete with and misappropriate

13   Skyroam’s trade secrets. This conspiracy is further evidenced by Wang Bin’s short tenure with

14   Skyroam and subsequent immediate hire by uCloudlink Shenzhen, and the fact that both Wang Bin

15   and several of the senior managers at Counterdefendants all previously worked together at Huawei.

16         169.    As a result, in violation of Skyroam’s rights, Counterdefendants misappropriated, and

17   continues to use, Skyroam’s trade secret information in the improper and unlawful manner

18   described above. Counterdefendants’ misappropriation of Skyroam’s confidential, proprietary, and

19   trade secret information was intentional, knowing, willful, malicious, fraudulent, and oppressive.

20   Counterdefendants have further attempted to and continues to attempt to conceal its

21   misappropriation.

22         170.    Counterdefendants’ possession, disclosure, and use of Skyroam’s trade secrets in the

23   same products accused of patent infringement in the instant litigation is the quintessential example

24   of behavior that rises to the level of “willful, wanton, malicious, bad-faith, deliberate, consciously

25   wrongful, flagrant, or—indeed—characteristic of a pirate.”

26         171.    As the direct and proximate result of Counterdefendants’ conduct in the United

27   States, Skyroam has suffered and, if Counterdefendants’ conduct is not stopped, will continue to

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 1   suffer, severe competitive harm, irreparable injury, and significant damages, in an amount to be

 2   proven at trial. Because Skyroam’s remedy at law is inadequate, Skyroam seeks, in addition to

 3   damages, injunctive relief to recover and protect its confidential, proprietary, and trade secret

 4   information and to protect other legitimate business interests. Skyroam’s business operates in a

 5   highly competitive market and will continue suffering irreparable harm absent injunctive relief.

 6          172.    Skyroam has been damaged by all of the foregoing and is entitled to an award of

 7   exemplary damages and attorneys’ fees.

 8
                                       SIXTH COUNTERCLAIM
 9       (Violation of the California Uniform Trade Secrets Act, Cal. Civ. Code §§ 3426 et seq.)
10
            173.    Counterclaimants incorporate the allegations set forth in the foregoing paragraphs of
11
     these Counterclaims as if fully set forth herein.
12
            174.    Under the California Uniform Trade Secrets Act, “trade secret” means “information,
13
     including a formula, pattern, compilation, program, device, method, technique, or process, that: (1)
14
     Derives independent economic value, actual or potential, from not being generally known to the
15
     public or to other persons who can obtain economic value from its disclosure or use; and (2) Is the
16
     subject of efforts that are reasonable under the circumstances to maintain its secrecy.” Cal. Civ.
17
     Code §§ 3426.1(d)(1)–(2).
18
            175.    Skyroam is the owner of trade secrets relating to solutions for roaming SIM cards,
19
     protocol for upgrade designs, methods of use for proxy communication servers, virtual SIM
20
     allocation, design of backend billing system, and data link management for carrier re-authentication.
21
     These trade secrets comprise unique compilations of information that include proprietary methods
22
     for establishing connections, allocating SIM profiles, billing management, and data links
23
     management.
24
            176.    Skyroam’s trade secrets are not generally known or readily ascertainable nor could
25
     they be properly acquired or duplicated by others. It is for this reason that Skyroam, a large
26
     multinational entity, has seen monumental success in the last ten years, making Skyroam a top
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 1   choice amongst its 15 million users worldwide including travelers from the Americas, Europe, and

 2   Asia.

 3           177.   At all times, Skyroam has taken reasonable and extensive efforts to keep its trade

 4   secrets secret through the use of Nondisclosure and Confidentiality Agreements, employment

 5   agreements, and employee training. As previously discussed in detail, all of Skyroam’s trade secrets

 6   are stored on secure servers and are password-protected. Additionally, documents containing

 7   Skyroam’s trade secrets are clearly marked “Confidentiality: Top Secret.”

 8           178.   At no time did Skyroam consent to Counterdefendants’ improper acquisition, use, or

 9   disclosure of its trade secrets or confidential information for any purpose.

10           179.   Skyroam’s trade secrets constitute independent economic value. Since 2008,

11   Skyroam has invested and continues to invest millions of dollars into research and development and

12   implementation of the trade secret protected systems, including its hotspot devices. Skyroam has

13   also invested and continues to invest significant economic resources into refining its products.

14           180.   Skyroam’s trade secrets are crucial to the success of the implementation, operation,

15   and maintenance of Skyroam’s proprietary technology and provide a decisive competitive advantage

16   to SIMO and to anyone else with access to this information. Skyroam’s trade secrets provide the

17   company with a critical market advantage in attracting new customers, based on their connection

18   speed and reliability, for example.

19           181.   Wang Bin acquired Skyroam’s trade secrets through a relationship of trust, in which

20   he signed a Technical Non-Disclosure Agreement and an Employment Agreement that imposed

21   upon him a duty to maintain the confidentiality of Skyroam’s confidential information and trade

22   secrets and to not improperly use and/or disclose the same.

23           182.   Counterdefendants conspired with Wang Bin to improperly acquire Skyroam’s trade

24   secrets while knowing or having reason to know that Wang Bin owed a duty to Skyroam to maintain

25   the information in secrecy.

26           183.   Moreover, Counterdefendants not only misappropriated Skyroam’s trade secrets, but

27   also improperly disclosed that information. For example, uCloudlink Shenzhen has applied for at

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 1   least 6 Chinese patents listing Wang Bin as inventor that, on information and belief, disclose

 2   Skyroam’s trade secrets that Counterdefendants conspired with Wang Bin to steal from Skyroam:

 3   CN105491555-A (application publication date: April 13, 2016), CN105282701-A (application

 4   publication date: Jan. 27, 2016), CN105228179-A (application publication date: Jan. 6, 2016),

 5   CN105979500-A (application publication date: Sept. 28, 2016), CN105813233-A (application

 6   publication date: July 27, 2016), CN106211119-A (application publication date: Dec. 7, 2016). At

 7   least two of these patents–– CN105282701-A and CN105228179-A issued on September 25, 2018.

 8          184.    Upon information and belief, Counterdefendants’ manufacture, offer for sale, and sell

 9   products that embody the Bin Patents, and therefore, are based, at least in part, on Skyroam’s trade

10   secrets and the Skyroam Confidential Documents.

11          185.    Skyroam, Inc. is a company incorporated under the laws of the state of California

12   with a principle place of business at 180 Sansome Street, Suite 200, San Francisco, CA 94104.

13          186.    Accordingly, by stealing trade secrets that belong to a United States entity,

14   Counterdefendants’ acts in furtherance of the misappropriation injure a California corporation.

15          187.    Specifically Counterdefendants’ acts are in furtherance of misappropriation that

16   harms Skyroam in the United States, and specifically causes harm to Skyroam, Inc., which is

17   incorporated under the laws of the state of California with a principle place of business at 180

18   Sansome Street, Suite 200, San Francisco, CA 94104. Not only are Counterdefendants’ products

19   sold to United States customers in direct competition with Skyroam, but in addition

20   Counterdefendants’ customers who purchased products outside of the United States use these

21   products and connect to Counterdefendants’ servers when travelling within the United

22   States. Enabling such connections is a core feature and functionality of the misappropriated trade

23   secrets as well as both the Skyroam’s and Counterdefendants’ competing products.

24          188.    This conduct is not only based on Skyroam’s trade secrets but it also takes place in

25   the United States and affects United States customers and a United States corporation.

26          189.    Counterdefendants’ manufacture, offers for sale, and sales of the products that

27   embody the Bin Patents is ongoing. (See, e.g., https://www.amazon.com/GlocalMe-Hotspot-

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 1   Upgraded-Worldwide-

 2   International/dp/B072KKF37M/ref=sr_1_1?ie=UTF8&qid=1528265125&sr=8-

 3   1&keywords=ucloudlink; https://www.amazon.com/GlocalMe-Hotspot-America-Unlocked-

 4   Roaming/dp/B073PXFWBG/ref=sr_1_3?ie=UTF8&qid=1528265125&sr=8-

 5   3&keywords=ucloudlink) and the S1 mobile phone (see https://www.amazon.com/GlocalMe-

 6   G1701-Unlocked-Smartphone-

 7   Global/dp/B07BY2394H/ref=sr_1_1?ie=UTF8&qid=1534286109&sr=8-

 8   1&keywords=ucloudlink+world+phone).

 9         190.    Counterdefendants has also intentionally, willfully, and maliciously misused trade

10   secrets and/or confidential or proprietary information or knowledge of Skyroam and continues to do

11   so. Counterdefendants use of Skyroam’s trade secrets was the result of discovery by improper

12   means by its employee Wang Bin. Skyroam has now discovered evidence that Wang Bin (1)

13   acquired Skyroam’s trade secrets by improper means when he copied them onto a USB drive

14   without permission from anyone at Skyroam; (2) transferred some or all of the contents of the USB

15   drive copies to his personal home computer; (3) further copied Skyroam’s trade secrets to his

16   uCloudlink work computer; (4) disclosed Skyroam’s trade secrets to other uCloudlink employees––

17   including, but not limited to, the senior executives at Counterdefendants who are listed as co-

18   inventors on the uCloudlink patents that disclose Skyroam trade secrets; (5) and authored patents

19   now assigned to uCloudlink Shenzhen, founded upon Skyroam’s trade secrets and confidential and

20   proprietary information––all of which have resulted in the manufacture, offer for sale, and sale of

21   products that embody Skyroam’s trade secrets in the United States.

22         191.    Counterdefendants’ subsequently used this information in connection with its

23   business activities, in a manner adverse to Skyroam’s business interests. Such use was and is

24   without Skyroam’s express or implied consent.

25         192.    Counterdefendants act of listing their senior executives, including but not limited to

26   its CEO, on patent applications that contain Skyroam’s misappropriated trade secrets is evidence

27   that Counterdefendants conspired with Wang Bin to unfairly compete with and misappropriate

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 1   Skyroam’s trade secrets. This conspiracy is further evidenced by Wang Bin’s short tenure with

 2   Skyroam and subsequent immediate hire by uCloudlink Shenzhen, and the fact that both Wang Bin

 3   and several of the senior managers at Counterdefendants all previously worked together at Huawei.

 4          193.    As a result, in violation of Skyroam’s rights, Counterdefendants misappropriated, and

 5   continue to use, Skyroam’s trade secret information in the improper and unlawful manner described

 6   above. Counterdefendants’ misappropriation of Skyroam’s confidential, proprietary, and trade

 7   secret information was intentional, knowing, willful, malicious, fraudulent, and oppressive.

 8   Counterdefendants have further attempted to and continues to attempt to conceal its

 9   misappropriation.

10          194.    Counterdefendants’ possession, disclosure, and use of Skyroam’s trade secrets in the

11   same products accused of patent infringement in the instant litigation is the quintessential example

12   of behavior that rises to the level of “willful, wanton, malicious, bad-faith, deliberate, consciously

13   wrongful, flagrant, or—indeed—characteristic of a pirate.”

14          195.    As the direct and proximate result of Counterdefendants’ conduct, Skyroam has

15   suffered and, if Counterdefendants’ conduct is not stopped, will continue to suffer, severe

16   competitive harm, irreparable injury, and significant damages, in an amount to be proven at trial.

17   Because Skyroam’s remedy at law is inadequate, Skyroam seeks, in addition to damages, injunctive

18   relief to recover and protect its confidential, proprietary, and trade secret information and to protect

19   other legitimate business interests. Skyroam’s business operates in a highly competitive market and

20   will continue suffering irreparable harm absent injunctive relief.

21          196.    Skyroam has been damaged by all of the foregoing and is entitled to an award of

22   exemplary damages and attorneys’ fees.

23
                                            PRAYER FOR RELIEF
24
            WHEREFORE, Counterclaimants pray that the Court enter judgment as follows:
25
            A.      That the Court declare that Counterclaimants and their products and processes do not
26
     infringe the ’066 and ’780 patents, either literally or under the doctrine of equivalents, and that
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 1   Counterclaimants have not actively induced or contributed to the infringement of the ’066 and ’780

 2   patents;

 3          B.      That the Court declare that the claims of the ’066 and ’780 patents are invalid;

 4          C.      That the Court declare this an exceptional case under 35 U.S.C. § 285 and award

 5   Counterclaimants their attorneys’ fees and costs of suit;

 6          D.      Enjoin Counterdefendants from using or otherwise disclosing Counterclaimants’

 7   confidential, proprietary, and trade secret information, including by selling products that embody

 8   such information;

 9          E.      Enjoin any destruction, deletion, transfer, copy, download, or other form of

10   reproduction or deletion of any of Counterclaimants’ confidential, proprietary, and/or trade secret

11   information in Counterdefendants’ possession, custody, or control, unless it is done under the

12   supervision of Counterclaimants’ third party forensic investigator;

13          F.      Account for any and all Skyroam confidential, proprietary, and/or trade secret

14   information currently or previously in Counterdefendants’ possession, custody, or control and

15   produce for immediate inspection and imaging all computers and other electronic devices belonging

16   to or under control of, accessible to, or operated by Counterdefendants, including but not limited to

17   Wang Bin’s uCloudlink-issued work computer;

18          G.      Award Counterclaimants damages adequate to compensate for Counterdefendants’

19   misappropriation of Skyroam’s trade secrets including, but not limited to, actual damages suffered as

20   a result of the misappropriation, including reasonable royalties and any unjust enrichment as a result

21   of the misappropriations;

22          H.      Award punitive damages to Counterclaimants owing to the willful, wanton, and

23   malicious nature of Counterdefendants’ acts;

24          I.      Award Counterclaimants the ownership of all Counterdefendants’ patents and patent

25   applications that have been or are obtained using Counterclaimants’ confidential, proprietary, and/or

26   trade secret information;

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 1             J.     Award Counterclaimants their prejudgment interest and post-judgment interest on

 2   their damages, attorneys’ fees, and costs; and

 3             K.     Award Counterclaimants such other and further relief as this Court deems just and

 4   proper.

 5
                                             JURY TRIAL DEMAND
 6
               Counterclaimants respectfully demand a trial by jury on all issues and claims so triable.
 7

 8   Dated: February_25, 2019                        Respectfully Submitted,
 9

10
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27                                                         Shenzhen Skyroam Technology Co., Ltd.
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